4:08-cr-03026-RGK-CRZ       Doc # 182    Filed: 11/19/14   Page 1 of 1 - Page ID # 495




                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )
                                         )
                    Plaintiff,           )                 4:08CR3026-1
                                         )
             V.                          )
                                         )
CARLOS LOVERBOY SILVA,                   )                    ORDER
                                         )
                    Defendant.           )
                                         )

       IT IS ORDERED that the Prosecutor and Federal Public Defender shall notify
the undersigned when this matter is ripe for resolution. My previous order (filing 169)
is withdrawn.

      Dated November 19, 2014.

                                        BY THE COURT:

                                        Richard G. Kopf
                                        Senior United States District Judge
